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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  NO. 4:16CR00139

KONGKEOMANY PHIMMACHACK,
MICHELLE ISOM, and
CATHERINE DILLON                                                               DEFENDANTS

                                   ORDER OF RECUSAL

       The above styled case was randomly assigned to the docket of United States District Judge

J. Leon Holmes on June 8, 2016. Judge Holmes is recusing due to his relationship with the family

of defendant Kongkeomany Phimmachack. The Court directs the Clerk to assign this action to

another judge.

       Dated this 20th day of June, 2016.


                                                   AT THE DIRECTION OF THE COURT
                                                   JAMES W. McCORMACK, CLERK

                                                   BY: /s/ Cory Wilkins
                                                      Courtroom Deputy to
                                                      U.S. District Judge J. Leon Holmes
